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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 JACQUELINE STEVENS,                            )
                                                )
                                 Plaintiff,     )
                                                )
                        v.                      )
                                                )
 U.S. IMMIGRATION AND CUSTOMS                   )
 ENFORCEMENT, U.S. CUSTOMS AND                  )   No. 21 C 2232
 BORDER PROTECTION, U.S.                        )
 CITIZENSHIP AND IMMIGRATION                    )   Judge Tharp
 SERVICES, EXECUTIVE OFFICE OF                  )
 IMMIGRATION REVIEW, U.S. NAVY,                 )
 U.S. DEPARTMENT OF AGRICULTURE,                )
 U.S. DEPARTMENT OF STATE, and U.S.             )
 DEPARTMENT OF JUSTICE,                         )
                                                )
                                 Defendants.    )

                                     JOINT STATUS REPORT

        At the court’s direction (Dkt. 18), the parties in this Freedom of Information Act case

jointly submit this status report:

        1.      The agencies that located records responsive to plaintiff’s FOIA requests have

completed their productions.
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       2.     The parties propose the following summary judgment briefing schedule: (1)

defendant to move for summary judgment by March 31, 2022; (2) plaintiff to respond by May 13,

2022; defendant to reply by June 3, 2022.

                                            Respectfully submitted,

                                            JOHN R. LAUSCH, Jr.
                                            United States Attorney

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